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               12    HOSPITALITY HOUSE, COALITION ON
               13    HOMELESSNESS, and FAITHFUL FOOLS

               14
                                                     UNITED STATES DISTRICT COURT
               15
                                                    NORTHERN DISTRICT OF CALIFORNIA
               16
                     COLLEGE OF THE LAW, SAN FRANCISCO, a                    Case No. 4:20-cv-3033-JST
               17    public trust and institution of higher education duly
                     organized under the laws and the Constitution of the    DECLARATION OF JOSEPH
               18    State of California; FALLON VICTORIA, an                T. WILSON IN SUPPORT OF
                     individual; RENE DENIS, an individual;                  INTERVENORS' OPOSITION
               19    TENDERLOIN MERCHANTS AND PROPERTY                       TO PLAINTIFFS' MOTION
                     ASSOCIATION, a business association; RANDY              TO ENFORCE STIPULATED
               20    HUGHES, an individual; and KRISTEN                      INJUNCTION
                     VILLALOBOS, an individual,
               21                                                            ASSIGNED FOR ALL
                                      Plaintiffs,                            PURPOSES TO THE
               22                                                            HONORABLE JON S. TIGAR,
                                      v.                                     COURTROOM6
               23
                     CITY AND COUNTY OF SAN FRANCISCO, a                     Date: 05/23/2024
               24    municipal entity,                                       Time: 2:00 p.m.

               25                     Defendant.
                                                                             Action Filed: 05/04/2020
                                                                             TRIAL DATE: (TBD)
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                     Case No. 4:20-cv-3033-JST
                     DECL OF J. WILSON ISO INTVS' RESP TO PLTFS' MTN TO ENFORCE STIP INJUNCTION          1
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                     DECL OF J. WILSON ISO INTVS' RESP TO PL TFS' MTN TO ENFORCE STIP INJUNCTION   2
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                1    I, Joseph T. Wilson, declare:

                2             1.      I am the Executive Director of Hospitality House, a non-profit organization, and

                3    an Intervenor in Hastings College ofthe Law, et al. v. City & County ofSan Francisco: Case

                4    No.: 4:20-cv-03033-JST. I make this Declaration in support oflntervenors' Opposition to

                5    Plaintiffs' Motion to Enforce the Stipulated Injunction.

                6            2.       The facts set forth below are known to me personally. I have first-hand

                7    knowledge of these facts. If called as a witness, I could and would testify competently, under

                8    oath, to such facts.

                9            3.       Hospitality House, located in San Francisco's Tenderloin Neighborhood, Sixth

               10    Street Corridor, and Mid-Market area, has a mission to build community strength by advocating

               11    for policies and rendering services which foster self-sufficiency and cultural enrichment.

               12            4.       Through six diverse programs: Community Arts Program, Community Building

               13    Program, Employment Program, Shelter Program, Sixth Street Self-Help Center, and Tenderloin

               14    Self-Help Center, we serve thousands of San Franciscans, including the unhoused, many who

               15    have disabilities, and other low-income individuals. Hospitality House takes a trauma-informed

               16    approach to its services that ensure unhoused individuals are not further harmed and reduces

               17    obstacles to help them become rehoused.

               18            5.       The University of California College of the Law filing seems to solely focus on

               19    bringing the number of homeless encampments and tents in the Tenderloin neighborhood to zero.

               20    In the motion to enforce the injunction, there is no concern for the rights of the unhoused

               21    community or mention of the City's obligation to provide services and housing. The root of the

               22    problem, which is not addressed in the filing, is the lack of services and housing for the

               23    Tenderloin community, not the number of tents.

               24            6.       Based on our experience working in the community, even if there has been a

               25    marginal increase of tents on the streets, it is related to the loss of the Shelter in Place hotel

               26    program, which helped many become permanently housed, and the ongoing need for more

               27    affordable, accessible housing options.

               28            7.       There are far more unhoused people living in the City (including the Tenderloin)

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                1    than there are available shelter beds. My understanding is that the City has a waitlist for shelters.

                2    In addition, contrary to the perception that unhoused people choose to stay unhoused, it has been

                3    our experience at Hospitality House that people will accept offers of a shelter bed when they are

                4    made available and accessible.

                5            8.       Hospitality House used its own funding to initially operate a Shelter in Place

                6    program and, with City support, moved nearly ninety percent of our residents into permanent

                7    supportive housing, with some moving into market-rate housing. The City also provided Shelter

                8    In Place hotel rooms to people during the pandemic, in part to comply with the Stipulated

                9    Injunction.

               10            9.       During the process of placing residents in more permanent housing, we prioritized

               11    placing them in a cohort to preserve the community that had been built when they lived on the

               12    streets, in addition to wraparound services. For example, we placed a cohort of twenty people

               13    into permanent supportive housing. We have learned over the years the importance of allowing

               14    community to follow people where they land, including in shelter settings.

               15             10.     The University proposes pushing people out of the Tenderloin district and into

               16    other areas like the beaches and plazas where there is little to no support. This only deepens the

               17    problem by cutting people off from their community support, makes it harder for individuals to

               18    access services, and makes connecting these individuals with housing more difficult.

               19             11.     In our experience, the lack or loss of community can perpetuate separation and

               20    deepens poverty and homelessness. When Hospitality House placed people in cohorts, it allowed

               21    them the space and time to take their necessary belongings like medication, clothing, and

               22    important documents, to build and transition their lives from the street to hotels, and ultimately,

               23    to permanent housing.

               24             12.     The enforcement of this Injunction and a zero-tent policy runs counter to

               25    preserving community, addressing needs of those experiencing homelessness and ending

               26    homelessness. At Hospitality House, we recognize that society is a communal experience, and

               27    the community helps us arrive at long-term solutions for poverty and homelessness.

               28             13.     With the City's current policy of a short notice followed by sweeps, it is in direct

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                1    opposition to the trauma-informed approach that reduces harm and obstacles to help people

                2    become rehoused. When the City clears tents, we see an increase in the number of individuals

                3    needing more services, not less. When you use a humane approach with supportive services, like

                4    Hospitality House, this can reduce the obstacles for people to access community and housing.

                5             14.      Clearing tents may make it easier for the City, business leaders, and

                6    policymakers to ignore the reality on the street. Removing tents simply erases the visual

                7    evidence that we do not have enough affordable housing but does not address the greater need

                8    and the harm ofremoval of tents for people who have nowhere to go.

                9             15.     This issue is not new; it takes planning and long-term planning to address the

               10    needs of homelessness. It is further disheartening to witness our public institutions, like the

               11    University of California College of Law, San Francisco, which holds itself out as "cultivating a

               12    diverse, equitable and inclusive community," as stated on their website, acting against the very

               13    community it teaches in. Instead of promoting their own private interests over that of the

               14    public's, the University should be involved in identifying permanent solutions to this housing

               15    cns1s.

               16             16.     The focus should be on sustainable solutions rather than short-term enforcement

               17    approaches that are ineffective. These approaches fail to address the needs of the most vulnerable

               18    individuals who have borne the brunt of the City's inadequate homeless system and the lack of

               19    accessible, affordable housing.

               20             17.     Equating every solution with law enforcement response is backwards and does

               21    not create long term solutions. There are broader definitions for public safety than enforcement

               22    such as housing, health care, and employment. We have the capacity to build community centers,

               23    childcare facilities, libraries, etc. in communities and that is public safety and investing in the

               24    public interest. This approach also allows people to be in communal spaces in their own

               25    community.

               26             18.     Based on my past experiences, the University's efforts to demand enforcement of

               27    the Injunction will likely lead to more police involvement and sweeps and cause more harm

               28    instead of approaching the needs of the unhoused with providing wrap around services like

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                1    Hospitality House's tried and true services.

                2            I declare under penalty of perjury under the laws of the United States of America that the

                3    foregoing is true and correct to the best of my knowledge. Executed on April 17, 2024, San

                4    Francisco, California.

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                8                                                   Joseph T. Wilson
                                                                    Executive Director, Hospitality House
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